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                                           LAW OFFICE OF
                                      JUSTIN A. ZELLER, P.C.
J USTIN A. Z ELLER
JAZELLER @ ZELLERLEGAL . COM
                                                                                                T ELEPHONE : 212.229.2249
J OHN M. G URRIERI                                                                               F ACSIMILE : 212.229.2246
JMGURRIERI @ ZELLERLEGAL . COM                                                 Defendants are directed to respond to
                                                                               the arguments in Plaintiffs' letter, Doc.
                                                              2FWREHU൬൱൬൪൬൪ 193, by Friday, October 30, 2020.

        VIA ECF                                                                    It is SO ORDERED.
        Hon. Edgardo Ramos, United States District Judge
        United States District Court for the Southern District of New York
                                                                                               10/27/2020
        ๠XUJRRG0DUVKDOO8QLWHG6WDWHV&RXUWKRXVH

        Re: Alvarado Balderramo et al v. Go New York Tours Inc. et al, ൫൯&9൬൭൬൰ (5

        Dear Judge Ramos:

            ๠LV¿UPUHSUHVHQWVWKHSODLQWL൵VLQWKHDERYH-UHIHUHQFHGDFWLRQ๠HSODLQWL൵VPRYHWRKDYHD
        /RFDO &LYLO 5XOH ൭൱൬ FRQIHUHQFH LQ DQWLFLSDWLRQ RI WKH SODLQWL൵V¶ PRWLRQ WR FRPSHO DPHQGHG
        UHVSRQVHV WR SDUWV RI SODLQWL൵V¶ GRFXPHQW GHPDQGV and LQWHUURJDWRULHV SXUVXDQW WR 5XOH
        ൭൱ D ൭ % LLL – LY  RI WKH )HGHUDO 5XOHV RI &LYLO 3URFHGXUH$OWHUQDWLYHO\ EHFDXVH WKH SDUWLHV
        DOUHDG\DWWHQGHGD/RFDO&LYLO5XOH൭൱൬FRQIHUHQFHRQ6HSWHPEHU൬൭൬൪൬൪WKHSODLQWL൵VDVNIRU
        DQRUGHUFRPSHOOLQJWKHEHORZGLVFRYHU\๠HDPHQGHGUHVSRQVHVDUHUHTXLUHG, VRWKDWSODLQWL൵V
        can SURSHUO\RSSRVHGHIHQGDQWV¶PRWLRQIRUVXPPDU\MXGJPHQWDQGPRWLRQWRVWD\ ¿OHGRQ2FWREHU
        ൲൬൪൬൪. See (&)1R൫൲൰ ๠HUHIRUHSODLQWL൵VDOVRPRYHIRUDQH[WHQVLRQRIWLPHWRUHVSRQGWR
        GHIHQGDQWV¶ VXPPDU\ MXGJPHQW PRWLRQ XQWLO WZR ZHHNV DIWHU WKH GLVFRYHU\ GHVFULEHG EHORZ LV
        SURGXFHG ๠LV H[WHQVLRQ ZLOO DOORZ SODLQWL൵V WLPH WR DQDO\]H WKH DGGLWLRQDO GLVFRYHU\ and
        LQFRUSRUDWHLWLQWRSODLQWL൵V¶RSSRVLWLRQ

            'LVFRYHU\6RXJKWE\3ODLQWL൵V

             5HJDUGLQJSODLQWL൵V¶UHTXHVWIRUGRFXPHQWVDWWKLVWLPHSODLQWL൵VVHHNDPHQGPHQWVDQGIXOO
        UHVSRQVHVIURPGHIHQGDQWVIRUGRFXPHQWUHTXHVWV൬DQG൮ZKLFKVHHNDOOWLPHDQGZDJHUHFRUGV
        IRU DOO HPSOR\HHV See (&) 1R ൫൭൫$OWKRXJK WKHVH UHTXHVWV VHHN GRFXPHQWV RQ EHKDOI RI DOO
        HPSOR\HHVSODLQWL൵VVHHNGRFXPHQWVRQEHKDOIRIDOOPHPEHUVRIWKHFODVVZKLFKLQFOXGHDOOWRXU
        EXVGULYHUVHPSOR\HGE\GHIHQGDQWVVLQFHVL[\HDUVEHIRUHWKHGDWHRIWKHFRPSODLQW through the
        SUHVHQW. See (&)1R൫൰൯ 2UGHUFODULI\LQJVFRSHRIWKHFODVV 'HIHQGDQWVKDYH\HWWRSURYLGH
        IRUPDOUHVSRQVHVWRWKHVHGLVFRYHU\GHPDQGVDQGKDYH\HWWRSURYLGHZDJHDQGKRXUUHFRUGVIRU
        the entire FODVV.

            3ODLQWL൵V DOVR VHHN DQ DPHQGPHQW WR GHIHQGDQWV¶ UHVSRQVH WR LQWHUURJDWRU\ ൫൮ ZKLFK VHHNV
        QDPHDQGDGGUHVVHVRIDOOHPSOR\HHVRIGHIHQGDQWVSee (&)1R൫൭൪'HIHQGDQWVUHVSRQGHGWR
        WKLVLQWHUURJDWRU\WKDWLWZDV³YDJXHRYHUEURDGXQGXO\EXUGHQVRPHVHHNV information which is
        QRWUHDVRQDEO\FDOFXODWHGWROHDGWRWKHGLVFRYHU\RIDGPLVVLEOHHYLGHQFHLVRXWVLGHWKHVFRSHRI
        /RFDO&LYLO5XOH൭൭൭DQGVHHNVSHUVRQDOLQIRUPDWLRQRILQGLYLGXDOVZKRDUHQRWSDUWLHVWRWKH
        LQVWDQWOLWLJDWLRQ” See (&)1R൫൭൮S൱๠LVUHVSRQVHPXVWQRZEHXSGDWHGWRLQFOXGHDOOQDPHV
        DQGDGGUHVVHVRIDOOFODVVPHPEHUVZKRDUHFOHDUO\QRZSDUWLHVWRWKHLQVWDQWOLWLJDWLRQ



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    ๠HVH UHVSRQVHV DUH QHFHVVDU\ IRU SODLQWL൵V¶ RSSRVLWLRQ WR GHIHQGDQWV¶ VXPPDU\ MXGJPHQW
motion because SODLQWL൵Vneed the information to GLVWLQJXLVKEHWZHHQWKHVFRSHRIWKLVFDVHDQG
WKH 1HZ<RUN 6WDWH 'HSDUWPHQW RI/DERU ³1<6'2/´  LQYHVWLJDWLRQV WKDW GHIHQGDQWV FRQWHQG
RYHUODSZLWKWKLVDFWLRQ DQGMXVWLI\VXPPDU\MXGJPHQWRUDVWD\RIWKLVDFWLRQ.

    Relevant History and Conferral

     2Q6HSWHPEHU൬൭൬൪൬൪WKH&RXUWKHOGDSUH-motion conference where the Court addressed
GHIHQGDQWV¶PRWLRQIRUOHDYHWR¿OHDVXPPDU\MXGJPHQWPRWLRQDQGSODLQWL൵V¶OHWWHUPRWLRQIRUD
/RFDO &LYLO 5XOH ൭൱൬ FRQIHUHQFH See ([ ൫ 7UDQVFULSW RI 3URFHHGLQJV  SS ൮ ൫൮ $W WKH
FRQIHUHQFH SODLQWL൵V LQIRUPHG WKH &RXUW WKDW GHIHQGDQWV SURYLGHG SD\UROO UHFRUGV DV SDUW RI
LQIRUPDO GLVFRYHU\ EXW WKDW WKH SD\UROO UHFRUGV ZHUH PLVVLQJ LQIRUPDWLRQ IURP NQRZQ FODVV
members. See id. S൫൯ At the conference, dHIHQGDQWVDJUHHGWKDWLISODLQWL൵s SURYLGHGWKHQDPHV
GHIHQGDQWVZRXOGSURYLGHUHOHYDQW UHFRUGVIRUWKRVHLQGLYLGXDOVSee idS൫൰๠H&RXUWRUGHUHG
SODLQWL൵VWRVHQGGHIHQGDQWVDGH¿FLHQF\OHWWHUZKLFKSODLQWL൵V KDGSUHYLRXVO\ sent to defendants
on -XO\൫൪൬൪൬൪DQGIRUZDUGHGDJDLQRQ6HSWHPEHU൬൭൬൪൬൪. See ([൬ ,QDGGLWLRQWRLQFOXGLQJ
PLVVLQJQDPHVWKHGH¿FLHQF\OHWWHUVWDWHGWKDWGRFXPHQWVIRUDOOHPSOR\HHVZKRVWDUWHGZRUNLQJ
DIWHU 2FWREHU ൬൪൫൮ ZHUH QHFHVVDU\ WR DQDO\]H VSUHDG-of-KRXUV YLRODWLRQV See id. Defendants
UHVSRQGHG WR WKLV HPDLO LQGLFDWLQJ WKDW WKH\ ZDQWHG WR SXWD FRQ¿GHQWLDOLW\ VWLSXODWLRQ LQ SODFH
EHIRUHSURGXFLQJWKH1<6'2/UHFRUGVDQGLQGLFDWHGWKDWWKHGHSRVLWLRQRI0U.RVWDGLQRYVKRXOG
WDNHSODFHDIWHUWKHVXPPDU\MXGJPHQWPRWLRQLVGHFLGHGSee ([൭. ๠LVHPDLOUHVSRQVHLQQR
ZD\VXEVWDQWLYHO\UHVSRQGHGWRSODLQWL൵V¶GH¿FLHQF\OHWWHUH[FHSWWKDWLWQDPHG0U.RVWDGLQRY
DV WKH RQO\ UHOHYDQW ZLWQHVV. /DWHU DV GHVFULEHG EHORZ GHIHQGDQWV HQGHG XS SURGXFLQJ WKH
1<6'2/¿OHEHIRUHDQ\FRQ¿GHQWLDOLW\VWLSXODWLRQZDVSXWLQWRSODFH

    ๠H&RXUWDOVRRUGHUHGGHIHQGDQWVWRSURYLGHWKHHQWLUHW\RIWKH1HZ<RUN6WDWH'HSDUWPHQW
RI/DERU¿OHZKLFKWKHGHIHQGDQWVGLGRQ2FWREHU൫൬൪൬൪. ๠HSURGXFWLRQFRQVLVWHGRIRYHU൫൪൪൪൪
SDJHVRIGRFXPHQWVRQEHKDOIRIDOOHPSOR\HHVRIGHIHQGDQWVIURP0DUFK൬൪൫൬WKURXJK0DUFK
൬൪൫൯. ๠HVH GRFXPHQWV FRQWDLQ VRPH UHFRUGV IRU VRPH WRXU EXV GULYHUV EXW WKHVH UHFRUGV DUH
LQVX൶FLHQWEHFDXVHWKH\GRQRWFRQWDLQUHFRUGVRQEHKDOIRIPDQ\FODVVPHPEHUVLQFOXGLQJFODVV
members wKRZHUHHPSOR\HGVLQFH0DUFK൬൪൫൯,QDGGLWLRQWKHVHUHFRUGVDUHVLPSO\DGXPSRI
GRFXPHQWVDQGIDLOWRLGHQWLI\UHOHYDQWSD\UROOUHFRUGVDQGLIWKHUHFRUGVDUHFRPSUHKHQVLYHRIWKH
DYDLODEOHUHFRUGVHVSHFLDOO\LQUHODWLRQWRWKHQDPHVLGHQWL¿HGLQSODLQWL൵V¶-XO\൫൪DQG6HSWHPEHU
൬൭൬൪൬൪HPDLOVSee ([൬. 'HIHQGDQWVFDQQRWFODLPWKDWWKHVHGRFXPHQWVZHUHLQDQ\ZD\LQ
UHVSRQVHWRSODLQWL൵V¶6HSWHPEHU൬൭൬൪൬൪HPDLOUHJDUGLQJGH¿FLHQFLHVLQSUHYLRXVO\SURGXFHG
UHFRUGV EHFDXVH GHIHQGDQWV LQ QR ZD\ DGGUHVVHG WKDW HPDLO GLG QRW LQGLFDWH WKH UHFRUGV ZHUH
FRPSOHWHDQGGLGQRWLQGLFDWHZKLFKSDUWVRIWKHRYHU൫൪൪൪൪SDJHVFRQWDLQHGWKHUHFRUGVVRXJKW
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    ๠H 1<6'2/ UHFRUGV DUH DOVR LQVX൶FLHQW EHFDXVH WKH\ DUH QRW DFFRPSDQLHG ZLWK IRUPDO
diVFRYHU\UHVSRQVHVSXUVXDQWWR&RXUW2UGHU0U6KHUUFODUL¿HGZLWKWKH&RXUWDWWKHFRQIHUHQFH
³LQ DGGLWLRQ WR UHFHLYLQJ WKH GRFXPHQWV DQG LQWHUURJDWRULHV ZH UHDOO\ ZRXOG OLNH DQ DPHQGHG
UHVSRQVHDQDPHQGHGLQWHUURJDWRU\SDSHUVRPHWKLQJWKDWVD\VIURP GHIHQGDQWVWKLVLVHYHU\WKLQJ
ZH KDYH VR WKDW ZH FDQ UHO\ RQ WKDW 6R ZH¶G OLNH WKRVH GRFXPHQWV WR EH DFFRPSDQLHG E\ DQ
DPHQGHGUHVSRQVH´WRZKLFKWKH&RXUWUHVSRQGHG³2ND\´See ([൫S൫൲3XUVXDQWWR&RXUW2UGHU
SODLQWL൵V QHHG IRUPDO UHVSRQVHV VR WKDW WKH GRFXPHQWV DQG LQWHUURJDWRULHV FDQ EH UHOLHG RQ LQ
SODLQWL൵V¶RSSRVLWLRQWRGHIHQGDQWV¶VXPPDU\MXGJPHQWPRWLRQ



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    :LWK WKH 2FWREHU ൫ ൬൪൬൪ 1<6'2/ ¿OH SURGXFWLRQ GHIHQVH FRXQVHO VWDWHG YLD HPDLO
³$PHQGHG GLVFRYHU\ UHVSRQVHV ZLOO IROORZ VKRUWO\´ 2Q 2FWREHU ൱ ൬൪൬൪ , conferred with
defendants YLD DQHPDLOZLWKWKH6HSWHPEHU൬൭൬൪൬൪WUDQVFULSWDWWDFKHGVWDWLQJ³&DQ\RXSOHDVH
FODULI\ H[DFWO\ ZKDW \RX ZLOO EH SURGXFLQJ" %HORZ \RX VDLG \RX ZLOO EH VHQGLQJ DPHQGHG
‘GLVFRYHU\UHVSRQVHV¶ %HIRUHLQHPDLO,NQRZ\RXVDLG\RXZRXOGMXVWEHVHQGLQJWKHHQWLUHW\RI
WKH '2/ ¿OH ,W¶V P\ XQGHUVWDQGLQJ EDVHG RQ WKH WUDQVFULSW DWWDFKHG IRU \RXU UHIHUHQFH  WKDW
-XGJH5DPRVRUGHUHGXVWRFRQIHUUHJDUGLQJZKDW,QHHGDQGKHDGGLWLRQDOO\RUGHUHGGHIHQGDQts
WRSURGXFHDFWXDOVLJQHGUHYLVHGGLVFRYHU\UHVSRQVHV3OHDVHOHWPHNQRZZKDW\RXUXQGHUVWDQGLQJ
RIGHIHQGDQWV¶REOLJDWLRQVDUHDWWKLVWLPHDIWHUUHYLHZLQJWKHWUDQVFULSW´

    2Q 2FWREHU ൱ ൬൪൬൪ GHIHQGDQWV UHVSRQGHG ³6XUH &RXOG \RX SOHDVH VLJQ DQG UHWXrn the
&RQ¿GHQWLDOLW\ 6WLS"´ ,Q WKHLU HPDLO, GHIHQGDQWV UHIHUHQFHG D FRQ¿GHQWLDOLW\ VWLSXODWLRQ WKDW
SODLQWL൵VZHUHUHYLHZLQJDGUDIWRI EXWQHYHUUHWXUQHG. (QWHULQJLQWRDFRQ¿GHQWLDOLW\VWLSXODWLRQ
UHJDUGLQJ WKH DOUHDG\ SURGXFHG 1<6'2/ UHFRUGV ZDV LQ QR ZD\ D FRQGLWLRQ SUHFHGHQW IRU
SURGXFWLRQRIDGGLWLRQDOGLVFRYHU\IURPGHIHQGDQWVDVdefendants PD\FODLP

    'HIHQGDQWVQHYHUIROORZHGXSZLWKDQDPHQGHGGRFXPHQWUHVSRQVHRULQWHUSUHWDWLRQRIWKH
&RXUW¶V GLUHFWLYH LQ WKH 6HSWHPEHU ൬൭ ൬൪൬൪ FRQIHUHQFH LQGLFDWLQJ WKDW ZDV QRW WKHLU GXW\.
3URPLVLQJWRSURYLGHGLVFRYHU\UHVSRQVHVDQGQHYHUGRLQJso is reminiscent of this summer where
RQ-XO\൬൬GHIHQGDQWVVWDWHGWKH\ZRXOGSURYLGHDPHQGHGGLVFRYHU\UHVSRQVHVE\$XJXVW൯IDLOHG
to do so, then DIWHU,IROORZHGXS stated WKH\ZRXOGEHSURYLGLQJWKHPRQ$XJXVW൫൬VWLOOIDLOHG
to do so, and then VWDWHGWKH\ZRXOGSURYLGHWKHPE\$XJXVW൫൮ ൬൪൬൪See (&)1R൫൱൲,nstead
of HYHU SURYLGLQJ WKH GLVFRYHU\ UHVSRQVHV GHIHQGDQWV ¿OHG D OHWWHU PRWLRQ IRU D SUH-motion
FRQIHUHQFH IRU WKHLU VXPPDU\ MXGJPHQW PRWLRQ See (&) 1R ൫൱൲ &OHDUO\ Gefendants seek to
ZLWKKROGWKHVHGLVFRYHU\UHVSRQVHVVRWKH\FDQQRWEHXVHGWRRSSRVHWKHLUEDVHOHVVPRWLRQIRU
VXPPDU\MXGJPHQW

    'HIHQGDQWVZHUHVXSSRVHGWR VXEPLW FRPSOHWHO\ UHYLVHG GLVFRYHU\ UHVSRQVHV 1RZE\ WKLV
OLPLWHG OHWWHU PRWLRQ SODLQWL൵V VHHN LPPHGLDWH UHVSRQVHV WR GRFXPHQW GHPDQGV ൬ DQG ൮ DQG
LQWHUURJDWRU\൮ZKLFKDUHQHFHVVDU\WRSODLQWL൵V¶RSSRVLWLRQWRGHIHQGDQWV¶VXPPDU\MXGJPHQW
motion.




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    Necessity for Opposition to Summary Judgment Motion

     &HQWUDOWRGHIHQGDQWV¶PRWLRQIRUVXPPDU\MXGJPHQWLVWKDWWKH1HZ<RUN6WDWH'HSDUWPHQW
RI/DERULVDOUHDG\LQYHVWLJDWLQJWKHFODVV¶VFODLPVSee (&)NR൫൲൲S൰3ODLQWL൵VUHTXLUHwage
and hour recordVRQEHKDOIRIWKHHQWLUHFODVV IRUPDOUHVSRQVHWRGRFXPHQWGHPDQGV൬DQG൮ DQG
LGHQWL¿FDWLRQ RI WKH HQWLUHW\ RI WKH FODVV UHVSRQVH WR LQWHUURJDWRU\ ൫൮  LQ RUGHU WR RSSRVH WKH
motion ๠H GHIHQGDQWV SURYLGH UHFDSLWXODWLRQ VKHHWV IURP WKH 1<6'2/ LQYHVWLgations that
defendants FODLP MXVWLI\ dismissing or VWD\LQJ WKLV DFWLRQ EHFDXVH GHIHQGDQWV FODLP WKLV DFWLRQ
RYHUODSVZLWKWKH1<6'2/LQYHVWLJDWLRQVSee (&)1R൫൳൪-൫ ([KLELW0WR6WDWHPHQWRI0DWHULDO
)DFWV5HFDSLWXODWLRQ6KHHWV ๠HGLVFRYHU\UHVSRQVHVVRXJKWE\SODLQWL൵VZLOOHOXFLGDWHWKHlack
RI RYHUODS EHWZHHQ WKH 1<6'2/ UHFDSLWXODWLRQ FLWHG WR LQ GHIHQGDQWV¶ PRWLRQ DQG WKH LQVWDQW
DFWLRQDQGDUHWKXVQHFHVVDU\WRSODLQWL൵V¶RSSRVLWLRQWRGHIHQGDQWV¶VXPPDU\MXGJPHQWPRWLRQ.

   $VDOWHUQDWLYHUHOLHIWKH&RXUWDVNVIRUDQRUGHUDOORZLQJSODLQWL൵V, in their memorandum in
RSSRVLWLRQ WR GHIHQGDQWV¶ PRWLRQ IRU VXPPDU\ MXGJPHQW WR UHO\ RQ SD\UROO DQG WLPH UHFRUGV
SUHYLRXVO\SURGXFHGLQIRUPDOO\DVSDUWRIVHWWOHPHQW

                                                       5HVSHFWIXOO\VXEPLWWHG



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